Case 3:16-cv-00489-CWR-BWR Document 179-5 Filed 03/01/22 Page 1 of 64

= BENCHMARK
>

May 3, 2021

Kenneth Wayne Jones
County Administrator
Hinds County

Post Office Box 686
Jackson, MS 39205-0686

Re: Benchmark Invoice #26

Dear Mr. Jones:

Please find enclosed our invoice for April 2021. | have attached timesheets as well as a breakdown by
facility for your reference, Please process for payment.

If you have any questions please let me know.
Sincerely,

me fn ey Cash ez

David Marsh,
President

DEFENDANT’S
1867 Crane Ridge Dr., Suite 200-A, Jackson, MS 39216 + P.O. Box 31177 Jackson, MS 39286-1177 j EXHIBIT

Phone 601-362-6110 « Fax 601-362-9812 + wuwbenchmarkms.com

D-11

D-000108
Case 3:16-cv-00489-CWR-BWR Document 179-5 Filed 03/01/22 Page 2 of 64

= BENCHMARK = INVOICE

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= i CONSTRUCTION
Sa] => [i- TT

1867 Crane Ridge Dr., Suite 200-A DATE:
P.O, Box 31177 Jackson, MS 39286-1777 N/A
Phone (601) 362-6110 YOUR ORDER NO.
Fax (601) 362-9812
SOLD TO: LOCATION:

Hinds County Raymond Detention Center

Work Center/Jackson D C
Henley - Young

OUR JOB NO.: CONTR AGS DATE: AUTHQRIZED BY:

DESCRIPTION AMOUNT

INVOICE FOR APRIL 2021

David Marsh $ 2,920.00
Gary Chamblee : $12,775.00
Willie Edmond $11,088.00

Timesheets Attached

TOTAL AMOUNT THIS INVOICE $26,783.00

e PLEASE PAY FROM INVOICE e NO STATEMENT RENDERED o

D-000109
Case 3:16-cv-00489-CWR-BWR Document 179-5 Filed 03/01/22 Page 3 of 64

HINDS DETENTION FACILITIES

TIME SHEET RECAP
4/30/2021
5/3/2021 DESCRIPTION HOURS AMOUNT TOTAL
RAYMOND DETENTION CENTER
Gary Chamblee 150 $73 $ 10,950.00
Willle Edmond 198 $56 $ 11,088.00
348,00 $ 22,038.00
HENLEY YOUNG
Wille Edmond 0 $56 $ :
Gary Chamblee 14 $73 $ 1,022.00
14 $ 1,022.00
WORK CENTER
Willle Edmond 0 $56 $ -
Gary Chamblee ii $73 $ 803.00
i $ 803.00
JACKSON DETENTION CENTER
Gary Chamblee 0 $73 $ .
Willie Edmand 0 $56 S -
0 $
MEETINGS
David Marsh 40 $73 $ 2,920.00
40 $ 2,920.00
TOTAL AMOUNT DUE $ 26,783.00

D-000110
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JINIYISNOD SNLVLS/DaU Ady-2z
JONIYIINOD SNLVLS/33V/IGU 4dy-9Z
ALNNOD SGNIH/Sdu Jdy-€z
ONNOA AJINAH/DGU 4dy-7z
331/1vSOdOud DY /SHIDYO YYOM ALNNOD SANIH Jdy-tz
YSLNID YYOM/I0Y/SUIGUO JYOM OD SGNIH Jdy-02z
STVSOdOUd /SU3CYO WUOM ALNNOD SONIH Jdy-6T
STWSOdO'd/SUSAHO NYOM ALNNOD SGNIH Jdy-9T
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Case 3:16-cv-00489-CWR-BWR Document 179-5 Filed 03/01/22 Page 5 of 64

Meeting
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DATE

S-Apr
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7-Apr
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9-Apr
12-Apr
15-Apr
16-Apr
19-Apr
22-Apr
23-Apr
27-Apr
28-Apr

Meeting with Leroy Lee, Gary
Meeting/Review projects
Meeting/Review projects
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Meeting/Review projects

HINDS DETENTION FACILITIES
TIME SHEET DAVID MARSH

Apr-21
DESCRIPTION HOURS

2.00
2.00
1.00
3.00
6.00
2,00
3.00
4.00
3.00
2.00
3.00
6.00
3.00
40.60

40 TOTAL MEETING HOURS x $73 = $ 2,920.00

D-000112
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DATE

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30-Apr

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HINOS DETENTION FACILITIES
TIME SHEET WILLIE EDMOND

4/30/2021
DESCRIPTION

WORK ORDER REVIEW.
WORK ORDER REVIEW,
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WORK ORDER REVIEW.
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HOURS

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9.00
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9.00
9.00
9.00
9.00
9.00
9.00
9.00
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TOTAL RDC HOURS 198.00

198 TOTAL HOURS x$56= $ 11,088.00

$ 11,088.00

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Case 3:16-cv-00489-CWR-BWR Document 179-5 Filed 03/01/22 Page 7 of 64

[Be BENCHMARK
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Ee CONSTRUCTION

CORPORATION

Daily Report
Raymond Detention Center

1450 County Farm Rd
Raymond, MS 39154

Time Temp Hum  W-Dir
01:57 AM 41°F 100% N
06:08 AM 43°F 93% N
10:05 AM 52°F 37% N
02:08 PM 57°F 26% N
05:57 PM 57°F 28% N
09:57 PM 46°F 49% N
Name CostCode Trade
CML Security

Shivers Electric
Total:

Powered By NoteVault

W-Speed
OMPH
OMPH
6MPH

12 MPH
10 MPH
3 MPH

Class

W-Gust
4MPH
9 MPH

14 MPH

23 MPH

16 MPH

11MPH

Thursday, Apr 01, 2021

Precip Condition
OIN Clear
OIN Clear
OIN Sunny
OIN Sunny
OIN Sunny
OIN Clear

Worker(s) Hours Description

5

2
7

Cleaned B-Pod andl adjusted
doors

8.00 work onb-pod lighting problems
16.00

8.00

Benchmark Constructlon | Raymond Detentlon Center | Thursday, Apr 01, 2021 | Page 1 of 1

D-000114
Case 3:16-cv-00489-CWR-BWR Document 179-5 Filed 03/01/22 Page 8 of 64

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CORPORATION

Daily Report
Raymond Detention Center

1450 County Farm Rd
Raymond, MS 39154

Time Temp Hum = W-Dir
01:57 AM 39°F 80% N
06;08 AM 34 °F 100%

10:08 AM 48°F 39% E
02:07 PM 59°F 26% N
05:57 PM 63°F 23% N
09:57 PM 43°F 100% N
Name CostCode Trade
CML Security

Total:

Powered By NoteVault

W-Speed
OMPH
OMPH
8 MPH
4MPH
4MPH
OMPH

Class

Friday, Apr 02, 2021

W-Gust Precip Condition

4 MPH OIN Clear
4MPH OIN Clear
8 MPH OIN Sunny

41. MPH OIN Sunny
4MPH OIN Sunny
2MPH OIN Mostly clear

Worker(s) Hours Description
4 8.00 Cleaned| B-Pod and adjusted

doors
1 8.00

Benchmark Construction | Raymond Detentlon Center | Friday, Apr 02,2021 | Page 1 of 1

D-000115
Case 3:16-cv-00489-CWR-BWR

md Gs; BENCHMARK

Daily Report

Raymond Detention Center

1450 County Farm Rd
Raymond, MS 39154

Time

01:58 AM
06:08 AM
10:08 AM
02:08 PM
05:58 PM
09:57 PM

Name

JL Roberts A/C

Total:

Temp Hum
59°F 76%
54°F 100%
70°F 100%
77°F 69%
81°F 53%
70°F 100%
Cost Cade

09:19 AM Wille Edmond

(Lat/Long: 32.247225,-90.400049)
Something over the weekend Hinds county pressure wash B-pod floors and walls

Powered By NoteVault

CONSTRUCTION
CORPORATION

Trade

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W-Speed
OMPH
4MPH
9MPH
8 MPH

10 MPH
7 MPH

Class

W-Gust
6MPH
4MPH
9MPH

16 MPH

18 MPH

12 MPH

Worker(s) Hours Description
work on converting old Pneumatic
8.00 valves to electrical valves (5) in b-
pod

Tuesday, Apr 06, 2021

Precip Condition
OIN Clear
OIN Clear
OJN Mostly sunny
OIN Mostly cloudy
OIN Partly sunny
OIN Mostly cloudy

Benchmark Construction | Raymond Detention Center | Tuesday, Apr 06, 2021 | Page 1 of 2

D-000116
Case 3:16-cv-00489-CWR-BWR Document 179-5 Filed 03/01/22 Page 10 of 64

09:21 AM Wille Edmond
[Lat/Long: 32.247279,-90,400096)

Hinds County had vendor working on inmates phones

Powered By NoteVault Benchmark Construction | Raymond Detention Center | Tuesday, Apr 06,2024 | Page 2 of 2

D-000117
Case 3:16-cv-00489-CWR-BWR Document 179-5 Filed 03/01/22 Page 11 of 64

mG BENCHMARK
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CORPORATION

Daily Report
Henley-Young Juvenile Justice

940 E McDowell Rd
Jackson, MS 39204

Time Temp Hum W-Dir
01:58 AM 61°F 59% s
06;08 AM 56°F 83% N
10:08 AM 69°F 67% 5
02:08 PM 78°F 49% S
05:58 PM 80°F 49% SSE
09:57 PM 71°F 86% SSE
Name CostCode Trade
Horne Fence

Total:

Employee Signature:

Powered By NoteVault

W-Speed
8 MPH
OMPH
8 MPH
9 MPH
7 MPH
6MPH

Class

W-Gust
8 MPH
3MPH
8 MPH

18 MPH

11 MPH

16 MPH

Tuesday, Apr 06, 2021

Preclp Condition
OIN Clear
OIN Clear
OIN Sunny
OIN Mostly cloudy
OIN Partly sunny
OIN Partly cloudy

Worker(s) Hours Description

4 8,00 Install security fencing
4 8,00

Benchmark Construction | Henley-Young Juvenlle Justice | Tuesday, Apr 06,2021 | Page 1of 1

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De pisouuany

CORPORATION

Daily Report Wednesday, Apr 07, 2021.

Raymond Detention Center

1450 County Farm Rd
Raymond, MS 39154

Time Temp Hum = W-Dir W-Speed W-Gust Precip Condition
01:58 AM 64°F 100% SSE 4 MPH 8 MPH OIN Mostly cloudy
06:05 AM 61°F 100% N 6MPH 6MPH OIN Clear

10:06 AM 70°F 100% S 9 MPH 16 MPH OIN Cloudy

02:08 PM 77°F 94% S 10 MPH 11MPH OIN Cloudy

05:58 PM 77°F 83% SE 11 MPH 24 MPH OIN Cloudy

09:57 PM 70°F 100% SSE 12MPH 19 MPH OLIN Light rain

09:20 AM Wille Edmond
(Lat/Long: 32.247210,-90,400069]

Hinds County started painting in b-3

Powered By NoteVault Benchmark Construction | Raymond Detention Center | Wednesday, Apr 07,2021 | Page 1 of 1

D-000119
Case 3:16-cv-00489-CWR-BWR

3¢ BENCHMARK
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Eé CONSTRUCTION

CORPORATION

Daily Report
Henley-Young Juvenile Justice

940 E McDowell Rel
Jackson, MS 39204

Time Temp Hum W-Dir
01:57 AM 66°F 94%  WSW
05:57 AM 62°F 96% WNW
09:57 AM 64°F 87% WSW
02:08 PM 81°F 31% SW
05:57 PM 82°F 25%  WSW
09:58 PM 68 °F 52% N
Name CostCode Trade
Horne Fence

Total:

Employee Signature:

Powered By NoteVault

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W-Speed
4MPH
2MPH
6 MPH

14 MPH
11MPH
OMPH

Class

Benchmark Construction | Henley-Young Juvenile Justice | Thursday, Apr 08,2021 | Page 1 of 1

Thursday, Apr 08, 2021

W-Gust Precip Condition

9 MPH 0.01 1N Cloudy

5 MPH OIN Mostly clear

8 MPH 0,01 IN Partly sunny
25 MPH OIN Sunny
21 MPH OIN Sunny

2MPH OIN Cloudy

Worker(s) Hours Description
4 8,00 Install security fencing
4 8,00

D-000120
Case 3:16-cv-00489-CWR-BWR

mG BENCHMARK
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GORPORATION

Daily Report
Raymond Work Center

1450 County Farm Road
Raymond, Ms 39154

Time Temp Hum W-Dir
01:57 AM 66°F 400% WNW
06:08 AM 61°F 100% N
10:08 AM 68°F 100% SSW
02:08 PM 79°F 33% WwW
05:57 PM 81°F 36% W
09;58 PM 61°F 100% N

09:12 PM Wille Edmond
(Lat/Long: 32.323239,-90,872529]

After entering the fire pump house we (Benchmark and Lewis Fire Protection)noticed water leaking from jockey pump and realized that it
had frozen and broken due to pass ice storm and then also noticed that the fire pump water tank was empty of water and was real slowly

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W-Speed
6MPH
OMPH
8 MPH

12MPH
10 MPH
OMPH

W-Gust
7 MPH
2MPH
9MPH

25 MPH

10 MPH
3 MPH

Thursday, Apr 08, 2021

Precip Condition
0.01 IN Cloudy
OIN Fog
OIN Partly sunny
OIN Sunny
OIN Sunny
OIN Cloudy

refilling. Water valves was turned off at pump.Lewis Fire Protection was as to get pricing on damage pump

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Benchmark Construction | Raymond Work Center | Thursday, Apr 08, 2021 | Page 1 of 2

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Employee Signature:

Powered By NoteVault Benchmark Consteuction | Raymond Work Center | Thursday, Apr 08,2021 [ Page 2 of 2

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CONSTRUCTION

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ES BENCHMARK

Daily Report
Raymond Detention Center

4450 County Farm Rd
Raymond, MS 39154

Time Temp Hum  W-Dir
01:57 AM 66°F 100% WNW
06:08 AM 61°F 100% N
10:08 AM 68°F 100% SSW
02:08 PM 79°F 33% Ww
05:57 PM 81°F 36% WwW
09:58 PM 61°F 100% N
Name CostCode Trade
JL Roberts A/C

Total:

Powered By NoteVault

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W-Speed
6MPH
OMPH
8 MPH

12 MPH
10 MPH
OMPH

Class

W-Gust
7 MPH
2MPH
9 MPH

25 MPH

10 MPH
3 MPH

Thursday, Apr 08, 2021

Precip Condition
0,01 1N Cloudy
OIN Fog
OJIN Partly sunny
OIN Sunny
OIN Sunny
OIN Cloudy

Worker(s) Hours Description

work on converting old Pneumatic
8.00 valves to electrical valves (5) in b-
pod

8.00

Benchmark Constructlon | Raymond Detention Center | Thursday, Apr 08, 2021 | Page 1 of 4

D-000123
Case 3:16-cv-00489-CWR-BWR

CONSTRUCTION
GF GonPoRATION

[2¢ BENCHMARK

Daily Report
Raymond Detention Center

1450 County Farm Rd
Raymond, MS 39154

Time Temp Hum W-Dir
01:57 AM 50°F 100% N
06:08 AM 46°F 100% N
10:08 AM 70°F 59% N
01:58 PM 84°F 24% ESE
05:55 PM 84°F 28% §
09:58 PM 61°F 100% N

02:56 PM Wille Edmond
(Lat/Long: 32,246041,-90.400253]

JL Roberts installed mini split unit in central control

Powered By NoteVault

Document 179-5

W-Speed
OMPH
OMPH
OMPH

10 MPH
10 MPH
OMPH

Benchmark Construction | Raymond Detentlon Center | Monday, Apr 12,2021 | Page 1 of 3

W-Gust
1MPH
1MPH
1MPH

10 MPH

10 MPH
6MPH

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Monday, Apr 12, 2021

Precip Condition
OIN Partly cloudy
OIN Clear
OIN Sunny
OIN Sunny
OIN Sunny
OIN Clear

D-000124
Case 3:16-cv-00489-CWR-BWR Document 179-5 Filed 03/01/22 Page 18 of 64

03:00 PM Wille Edmond
(Lat/Long: 32.246033,-90.400245]

Shivers Electric installed power for mini split unit in central contro] (6 hrs

Powered By NoteVault Benchmark Construction | Raymond Detention Center | Monday, Apr 12, 2021 | Page 2 of 3

D-000125
Case 3:16-cv-00489-CWR-BWR Document 179-5 Filed 03/01/22 Page 19 of 64

03:04 PM Wille Edmond
(Lat/Long: 32.245986,-90,400299)

JL Roberts demo old pneumatic valves and installed new electric valves in B-Pod @5 locations

Powered By NoteVault Benchmark Constructlon | Raymond Detention Center | Monday, Apr 12, 2021 | Page 3 of 3

D-000126
Case 3:16-cv-00489-CWR-BWR

Be pcan

CORPORATION

Daily Report
Raymond Detention Center

1450 County Farm Rd
Raymond, MS 39154

Time Temp Hum = W-Dir
01:59 AM 55 °F 100% N
05:59 AM 52°F 100% N
10;06 AM 72°F 100% N
01:58 PM 72°F 100% SSE
05:58 PM 72°F 60% SSE
09:59 PM 57°F 100% N
Name CostCode Trade
JL Roberts A/C

Total:

Powered By NoteVault

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W-Speed
OMPH
OMPH
OMPH
6MPH

12 MPH
OMPH

Class

Tuesday, Apr 13, 2021

W-Gust Precip Condition

6MPH OIN Mostly cloudy

2 MPH OIN Mostly cloudy

1MPH OIN Sunny

9 MPH 0.1 IN Mostly cloudy
25 MPH OIN Sunny

4 MPH OIN Partly cloudy

Worker(s) Hours Description
4 8.00 Install mini split unit in central

contol
4 8.00

Benchmark Canstruction | Raymond Detention Center | Tuesday, Apr 13, 2021 | Page 1 of 1

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CONSTRUCTION

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Daily Report

Raymond Detention Center

1450 County Farm Rd
Raymond, MS 39154

Time

01:55 AM
06:06 AM
10:06 AM
02:08 PM
05:59 PM
09:59 PM

Name

Guaranteed Roofing

Total:

Temp Hum
59°F 100%
57°F 100%
63°F 63%
66°F 59%
59°F 100%
55°F 100%
Cost Code

06:01 PM Wille Edmond

(Lat/Long: 32,323301,-90,872358]
Guaranteed Roofing cap existing and installed new down spout In B-2 pod

Powered By NoteVault

Trade

W-Speed
OMPH
OMPH
9 MPH
OMPH
OMPH
OMPH

Class

W-Gust
4 MPH
7 MPH

10 MPH
4MPH
4 MPH
5 MPH

Friday, Apr 16, 2021

Precip Condition
OIN Cloudy
OIN Cloucly
0.011N Mostly cloudy
OIN Cloudy
0,06 IN Light rain
0.14 IN Cloudy

Worker(s) Hours Description
8.00 Work onroof leak in B-2 wall
8.00

Benchmark Construction | Raymond Detention Center | Friday, Apr 16,2021 | Page 1 of 4

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Case 3:16-cv-00489-CWR-BWR Document 179-5 Filed 03/01/22 Page 22 of 64

Powered By NoteVault Benchmark Construction | Raymond Detention Center | Friday, Apr 16,2021 | Page 2 of 4

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0€1000°C Case 3:16-cv-00489-CWR-BWR Document 179-5 Filed 03/01/22 Page 23 of 64

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Powered By NoteVault Benchmark Construction | Raymond Detention Center | Friday, Apr 16, 2021 | Page 4 of 4

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[I2¢ BENCHMARK
Be ensues,

Daily Report
Raymond Detention Center

1450 County Farm Rd
Raymond, MS 39154

Monday, Apr 19, 2021

Time Temp Hum = W-DiIr W-Speed W-Gust Precip Condition
01:54AM 46°F 100% N OMPH 2 MPH OIN Clear
05:56AM 43°F 100% N OMPH 2 MPH OIN Clear
09:55 AM 59 °F 100% N OMPH 6MPH OIN Sunny
02:01 PM 70°F 37% WwW 6MPH 14 MPH OIN Sunny
05:50 PM 70 °F 37% N 4 MPH 5 MPH OIN Sunny
09:55 PM 55°F 100% N OMPH 1MPH OIN Cloudy
Name CostCode Trade Class Worker(s) Hours Description
Started installing fire alarm
B&E Communication 4 8.00 system in b-pod
work on converting old Pneumatic
JL Roberts A/C 2 8.00 valves to electrical valves (5) in b-
pod
. Install new lights and work on
Shivers Electric 4 8.00 existing lights in b-pod
Total: 10 24.00
Powered By NoteVault Benchmark Construction | Raymond Detentlon Center | Manday, Apr 19, 2021 | Page Lof 1

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Fs Bevery

GORPORATION

Daily Report Wednesday, Apr 21, 2021

Henley-Young Juvenile Justice

940 E McDowell Rd
Jackson, MS 39204

Time Temp Hum = W-Dir W-Speed W-Gust Precip Condition
01:59 AM 51°F 63% NNW 12 MPH 23 MPH OIN Mostly clear
05:58 AM 44°F 59% N 8MPH 17 MPH OIN Cloudy
10:09 AM 48°F 56% N 6MPH 11 MPH OIN Sunny
02:07 PM 58°F 35%  NNE 11 MPH 21 MPH OIN Sunny
05:59 PM 60°F 28% NW 9 MPH 9MPH OIN Sunny
09:54 PM 52°F 42% N 3 MPH 4MPH OIN Clear

11:19 AM Wille Edmond
(Lat/Long: 32.269188,-90,198563]

JL Roberts remove old unit that serve administration and booking area and installed new one

Powered By NoteVault Benchmark Construction | Henley-Young Juvenile Justice | Wednesday, Apr 21, 2021 | Page 1 of 3

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Case 3:16-cv-00489-CWR-BWR Document 179-5 Filed 03/01/22 Page 27 of 64

11:24 AM Wille Edmond
(Lat/Long: 32.269184,-90,198691]
Horne Fencing finished installing security fence and gates at classroom pods

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Powered By NoteVault Benchmark Construction | Henley-Young Juvenile Justice | Wednesday, Apr 21, 2021 | Page 2 of 3

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Employee Signature:

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Daily Report
Raymond Detention Center

1450 County Farm Rd
Raymond, MS 39154

Time Temp Hum  W-Dir
01:59 AM 46°F 93% NW
06:05 AM 43°F 81% N
10:09 AM 48°F 61% N
02:07 PM 57°F 38% NW
05:59 PM 59°F 33% N
09:54 PM 43°F 100% N
Name CostCode Trace

JL Roberts A/C

Shivers Electric

Total:

05:32 PM Wille Edmond
[Lat/Long: 32,323302,-90,872494]
Hinds County plumber working in B-Pod

Powered By NoteVault

Wednesday, Apr 21, 2021

W-Speed W-Gust Precip Condition

8 MPH 17 MPH OIN Cloudy

4 MPH 14 MPH OIN Cloudy

6MPH 12 MPH OIN Sunny

9 MPH 18 MPH OIN Sunny

3 MPH 15 MPH OIN Sunny

OMPH 4 MPH OIN Clear

Class Worker(s) Hours Description
work on converting old Pneumatic

2 8.00 valves to electrical valves (5) in b-

pod

Install new lights and work on
existing lights in b-pod

Benchmark Construction | Raymond Detention Center | Wednesday, Apr 21,2021 | Page Lof 2

D-000136
Case 3:16-cv-00489-CWR-BWR Document 179-5 Filed 03/01/22 Page 30 of 64

05:38 PM Wille Edmond
[Lat/Long: 32,323284,-90.872585]

B&E working on fire alarm system

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Powered By NoteVault Benchmark Construction | Raymond Detentlon Center | Wednesday, Apr 21,2021 | Page 2 of 2

D-000137
Case 3:16-cv-00489-CWR-BWR Document 179-5 Filed 03/01/22 Page 31 of 64

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CORPORATION
Daily Report Thursday, Apr 22, 2021

Raymond Detention Center

1450 County Farm Rd
Raymond, MS 39154

Time Temp Hum W-Dir W-Speed W-Gust Precip Condition

01:58 AM 39°F 100% N OMPH 3 MPH OIN Clear

06:09 AM 36 °F 100% N OMPH 1MPH OIN Clear

10:06 AM 59°F 44% ESE 8 MPH 9MPH OIN Sunny

01:59 PM 66°F 32% N 4MPH 6 MPH OIN Sunny

05:58 PM 70°F 30% N 3 MPH 4MPH OIN Mostly sunny

09:53 PM 54°F 100% N OMPH 3 MPH OIN Mostly cloudy

Name CostCode Trade Class Worker(s) Hours Description

Hinds County Plumber 0 0.00 work on plumbing problems in b-
pod cells

JL Roberts A/C 1 4.00 Insulated a/c units pipes in b-pod

Total: 1 4.00

06:16 PM Wille Edmond
(Lat/Long: 32.323281,-90.872256]

Lewis Fire Protection doing inspection on fire pump system @RDC

Powered By NoteVault Benchmark Construction] Raymond Detentlon Center | Thursday, Apr 22, 2021 | Page 1 of 8

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D-000139
Case 3:16-cv-00489-CWR-BWR Document 179-5 Filed 03/01/22 Page 33 of 64

06:23 PM Wille Edmond
(Lat/Long: 32.323207,-90.872372]

Lewis Fire Protection check the fire pump water level @Work Center after three weeks. Still not working

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D-000140
Case 3:16-cv-00489-CWR-BWR Document 179-5 Filed 03/01/22 Page 34 of 64

06:49 PM Wille Edmond
(Lat/Long: 32.323163,-90.872276]

Kitchen Equipment @RDC NOT WORKING
1.Double Oven

2.4 burner gas stove(only one burner working
3.Griddle

4, Tilt Skillet works off and on at time

5.Rice Steamer

6.One out of four fryers is working

7.One of the single oven doors not working properly

8,None of the four steam kettles work

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eV1000°0 Case 3:16-cv-00489-CWR-BWR Document 179-5 Filed 03/01/22 Page 35 of 64

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Case 3:16-cv-00489-CWR-BWR Document 179-5 Filed 03/01/22 Page 36 of 64

07:02 PM Wille Edmond
[Lat/Long: 32.323239,-90,872499]

Booking entrance, exit and central control doors needs new locks

Powered By NoteVault Benchmark Construction | Raymond Detention Center | Thursday, Apr 22, 2021 | Page 6 of 8

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D-000144
Case 3:16-cv-00489-CWR-BWR Document 179-5 Filed 03/01/22 Page 38 of 64

07:14 PM Wille Edmond
(Lat/Long: 32.32317 1,-90,872496)

Griffin work on washers and dryer's at Work Center and RDC

07:19 PM Wille Edmond
(Lat/Long: 32.323179,-90,.872303]

JL Roberts insulated a/c unit pipes in b-pod at units

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D-000145
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CORPORATION

Daily Report
Raymond Detention Center

1450 County Farm Rd
Raymond, MS 39154

Time Temp Hum W-Dir
01:55 AM 57°F 71% N
06:09 AM 54°F 100% N
10:09 AM 59°F 100% ESE
02:09 PM 61°F 100% ESE
05:59 PM 66°F 100% ESE
09:59 PM 61°F 100% N
Name CostCode Trade

Hinds County Plumber

JL Roberts A/C

Shivers Electric

Total:

Powered By NoteVault

W-Speed
OMPH
OMPH
4 MPH
6MPH
9MPH
OMPH

Class

W-Gust
6MPH
4 MPH

11 MPH
6MPH

10 MPH
8 MPH

Friday, Apr 23, 2021

Precip Condition
0.02 IN Cloudy

OIN Cloudy

OIN Cloudy

OIN Cloudy

OIN Cloudy
0.13 IN Thunderstorm

Worker(s) Hours Description

1

5

work on plumbing problems in b-
pod cells

work on converting old Pneumatic
8.00 valves to electrical valves (5) in b-
pod

work on existng front entrance
handicap door button,intercom
and not working outlets in
administration offices

0.00

14,00

Benchmark Construction | Raymond Detention Center | Friday, Apr 23, 2021 | Page 1 of 3

D-000146
Case 3:16-cv-00489-CWR-BWR Document 179-5 Filed 03/01/22 Page 40 of 64

09:19 PM Wille Edmond
(Lat/Long: 32.323272,-90,872334)

Shivers Electric working on front entrance doors handicap button and intercom

09:22 PM Wille Edmond
(Lat/Long: 32.323319,-90,872308)
Damages to walls in medical holding rooms

Powered By NoteVault Benchmark Construction | Raymond Detention Center | Friday, Apr 23, 2021 | Page 2 of 3

D-000147
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Daily Report
Raymond Detention Center

1450 County Farm Rd
Raymond, MS 39154

Time Temp Hum = W-Dir
01:59 AM 50°F 100% N
05:58 AM 48 °F 100% N
10;09 AM 72°F 60% SSE
02:09 PM 79°F 47% N
05:58 PM 79°F 47% SE
09:54 PM 64°F 100% ESE
Name CostCode Trade
Hinds County Plumber

JL Roberts A/C

Shivers Electric

Total:

Powered By NoteVault

W-Speed
O MPH
OMPH
9MPH
OMPH
6 MPH
8 MPH

Class

W-Gust
3 MPH
3 MPH
9MPH
5 MPH
9 MPH
8 MPH

Monday, Apr 26, 2021

Precip Condition
OIN Clear
OIN Partly cloudy
OIN Sunny
OIN Sunny
OIN Mostly sunny
OIN Mostly cloudy

Worker(s) Hours Description

1

work on plumbing problems in b-
pod cells

work on converting old Pneumatic
4.00 valves to electrical valves (5) in b-
pod

Install new lights and work on
existing lights in b-pod

0,00

8,00
12,00

Benchmark Construction | Raymond Detention Center | Monday, Apr 26, 2021 | Page 1of 4

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Case 3:16-cv-00489-CWR-BWR

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Daily Report
Raymond Detention Center

1450 County Farm Rd
Raymond, MS 39154

Time Temp Hum W-Dir
01:59 AM 59°F 100% E
06:09 AM 63°F 100% N
10:08 AM 72°F 100% SSE
02:09 PM 81°F 100% SSE
05:59 PM 81°F 100% SE
09:54 PM 75 °F 100% SSE
Name CostCode Trade
Hinds County Plumber

JL Roberts A/C

Shivers Electric

Total:

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Tuesday, Apr 27, 2021

W-Speed W-Gust Precip Condition

4MPH 8 MPH OIN Clear
3MPH 6 MPH OIN Cloudy

17 MPH 23 MPH OIN Mostly cloudy

14 MPH 14 MPH OIN Mostly cloudy
4MPH 9 MPH OIN Cloudy

410 MPH 12 MPH OIN Cloudy
Class Worker(s) Hours Description

1 0.00

8 6.00

2 8.00

work on plumbing problems in b-
pod cells

work on converting old Pneumatic
valves to electrical valves (5) in b-
pod

Install new lights and work on
existing lights in b-pod,and went
into A-2 unit and made sure that
the day room lights (4) all is
working and put on their own
breaker and also to make all cells
with exposed wires safe by killing
power to these areas

Benchmark Construction | Raymond Detentlon Center | Tuesday, Apr 27, 2021 | Page 1 of 10

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Powered By NateVault Benchmark Construction | Raymond Detention Center | Tuesday, Apr 27,2021 | Page 3 of 10

D-000152
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D-000153
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D-000154
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D-000155
Case 3:16-cv-00489-CWR-BWR Document 179-5 Filed 03/01/22 Page 49 of 64

06:26 PM Wille Edmond
(Lat/Long: 32,323197,-90,872526)

Guaranteed roofing repaired roof damages to A-3 roof

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D-000156
Case 3:16-cv-00489-CWR-BWR Document 179-5 Filed 03/01/22 Page 50 of 64

08:50 PM Wille Edmond
{Lat/Long: 32,323289,-90.872525]

Hinds County Mantenance re-welding doors in A-2&3 unit where the Electrictans(Shivers), Hvac (JL Roberts)and Roofer (Guaranteed
Roofing had to get into to work on lights ,a/c unit and roof damages from past breaches

Powered By NoteVault Benchmark Construction | Raymond Detention Center | Tuesday, Apr 27, 2021 | Page 8 of 10

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Case 3:16-cv-00489-CWR-BWR

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Daily Report
Raymond Detention Center

1450 County Farm Rd
Raymond, MS 39154

Time Temp Hum = W-Dir
01:59 AM 73°F 100% SSE
06:09 AM 72°F 100% ESE
10:06 AM 77°F 100% SE
02:09 PM 86 °F 69% SSE
05:59 PM 86°F 61% SE
09:58 PM 75 °F 100% SSE
Name CostCode Trade

Guaranteed Roofing

Hinds County Plumber

JL Roberts A/C

Shivers Electric

Total:

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W-Speed
9MPH
4MPH
9 MPH

10 MPH
9 MPH
9 MPH

Class

Benchmark Construction | Raymond Detention Center | Wednesday, Apr 28, 2021 | Page 1 0f 3

W-Gust
16 MPH

8 MPH
12 MPH
19 MPH
10 MPH
15 MPH

Wednesday, Apr 28, 2021

Precip Condition
OIN Cloudy
OIN Cloudy
OIN Cloudy
ON Partly sunny
OIN Partly sunny
OIN Mostly cloudy

Worker(s) Hours Description

Repaired sub roof decking in B-
Pod from past breaches

work on plumbing problems in b-
pod cells

work on converting old Pneumatic
8.00 valves to electrical valves (5) in b-
pod

Install new lights and work on
existing lights in b-pod

8.00

D-000160
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08:49 PM Wille Edmond
(Lat/Long: 32.323291,-90.872545]

Benchmark had John Lyes and Brian w/ acoustic to do a walk through with me and Steve Winter to look at damage ceilings throughout the
facility

Powered By NoteVault Benchmark Construction | Raymond Detention Center | Wednesday, Apr 28, 2021 | Page 2 of 3

D-000161
Case 3:16-cv-00489-CWR-BWR Document 179-5 Filed 03/01/22 Page 55 of 64

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CORPORATION

Daily Report

Raymond Detention Center

1450 County Farm Rd
Raymond, MS 39154

Time

01:59 AM
06:09 AM
10:09 AM
02:07 PM
05:59 PM
09:59 PM

Temp
70°F
68 °F
77°F
81°F
82°F
72°F

06:35 PM Wille Edmond
(Lat/Long: 32.323235,-90,872442)

Shivers Electric and JL Roberts had to spend 2 to 3hrs grinding and cutting doors open that was welled all the way shut in A-1 & A-4 unit

Powered By NoteVault

Hum
100%
100%
100%
100%

94%

95%

W-Dir
SSE

W-Speed
8 MPH
3MPH
6&MPH
7 MPH
4MPH
1 MPH

W-Gust
14 MPH
10 MPH
7 MPH
7 MPH
5 MPH
1 MPH

Thursday, Apr 29, 2021

Precip Condition
OIN Cloudy
OIN Cloudy
OIN Mostly cloudy
OIN Cloudy
OIN Mostly sunny
OIN Mostly cloudy

Benchmark Construction | Raymond Detention Center | Thursday, Apr 29, 2021 | Page 1 of 3

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D-000164
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06:51 PM Wille Edmond
(Lat/Long: 32.323242,-90,872437]

Shivers Electric work on A-1 & A-4 day room lights,putting them on their own breaker and also making areas with live wire safe

Powered By NoteVault Benchmark Construction | Raymond Detention Center | Thursday, Apr 29, 2021 | Page 3 of 3

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Case 3:16-cv-00489-CWR-BWR Document 179-5

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CORPORATION

Daily Report
Raymond Detention Center

1450 County Farm Rd
Raymond, MS 39154

Time Temp Hum = W-Dir
01:55AM 72°F 100% N
06;10 AM 70 °F 100% N
10:09 AM 68 °F 100% N
02:08 PM 64°F 100% N
05:54 PM 68 °F 100% N
09:59 PM 63°F 100% N
Name CostCode Trade

Shivers Electric
Total:

06:28 PM Wille Edmond
[Lat/Long: 32.323256,-90.872235)

W-Speed
OMPH
OMPH
4MPH
OMPH
OMPH
OMPH

Class

W-Gust
3 MPH
7 MPH
6 MPH
7 MPH
6MPH
2MPH

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Friday, Apr 30, 2021

Precip Condition
0.04 IN Cloudy
0.05 IN Cloudy
0,04 IN Light rain
0.04 IN Cloucly
OJN Mostly cloudy
OIN Cloudy

Worker(s) Hours Description

Install new lights and work on

s+ B00 existing lights in b-pod

3 8.00

Hinds County ask Benchmark to have JL Roberts to come and check why the air is not working in C-Pod. In c-1,2,3,4 the chill water supply and return was
between 80 to 85 degree,|nc-4 and c-pod control units they still have pneumatic valves,In c-3 unit the supply duct is damaged from inmate breaching

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Benchmark Constructlon | Rayniond Detention Center | Friday, Apr 30, 2021 | Page 1 of 5

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Case 3:16-cv-00489-CWR-BWR Document 179-5 Filed 03/01/22 Page 60 of 64

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D-000168
Case 3:16-cv-00489-CWR-BWR Document 179-5 Filed 03/01/22 Page 62 of 64

07:18 PM Wille Edmond
(Lat/Long: 32,353954,-90,881444]

Hinds County ask Benchmark to get JL. Roberts to come out and see why the York Chiller Is not working. They found the water valve was
off at cooling tower #2 that supplied the York Chiller and the fan motor only hacl one out six belt on, We turn water on at the tower and
installed new belt. After running water for ten minutes the York Chiller came on and stayed on

Powered By NoteVault Benchmark Construction | Raymond Detention Center | Friday, Apr 30, 2021 | Page 4 of 5

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STATES DISTRICT COURT
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